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  6                         UNITED STATES DISTRICT COURT
  7                      SOUTHERN DISTRICT OF CALIFORNIA
  8
       UNITED STATES OF AMERICA,                       CASE NO. 12-CR-236 - IEG
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                                                       ORDER DENYING FRANCISCO
 10          v.                                        GUTIERREZ’S (6) RENEWED
                                                       MOTION TO SUPPRESS FOR
 11    FRANCISCO GUTIERREZ (6),                        LACK OF NECESSITY
 12                                 Defendant.         [Doc. No. 975]
 13
 14         Presently before the Court is Defendant Francisco Gutierrez’s (6)
 15   (“Defendant”) renewed motion to suppress for lack of necessity and request for a
 16   Franks hearing. [Doc. No. 975, Def.’s Mot.] The Government filed a response in
 17   opposition to Defendant’s motion. [Doc. No. 1004, Govt.’s Opp.] The Court
 18   previously denied Defendant’s motion to suppress on the grounds of necessity and
 19   request for a Franks hearing on December 19, 2012. [Doc. No. 857.]
 20   I.    Necessity
 21         Defendant renews his motion to suppress for lack of necessity in light of
 22   receipt of segment VI of discovery, which includes the pen register applications and
 23   orders. Based upon a review of that discovery, Defendant argues that the
 24   Government failed to demonstrate necessity to wiretap target telephone 7. [Doc.
 25   No. 975-1, Def’s Mot. at 9.] Defendant generally argues that the Government did
 26   not sufficiently use traditional methods, including pen registers, prior to seeking a
 27   wiretap order on target telephone 7.
 28         The Court previously denied Defendant’s motion to suppress on the grounds

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      that the affidavit gives sufficient factual basis to show necessity for target telephone
  2   7 in light of the affidavit’s explanations as to why other investigative techniques
  3   would not succeed in the case and the greater leeway the Government is afforded
  4   under Ninth Circuit case law in its investigative methods when it pursues a
  5   conspiracy. [Doc. No. 857.]
  6         As the Court found regarding Defendant’s previous motion, the Court finds
  7   again, despite Defendant’s arguments regarding the pen registers, that the affidavit,
  8   read in its entirety, gives sufficient factual basis to show that ordinary investigative
  9   procedures failed or would have failed in the present case. See United States v.
 10   Spagnuolo, 549 F.2d 705, 710 (9th Cir. 1977). The affidavit thoroughly details
 11   numerous investigative techniques and the specific reasons why they would not
 12   succeed in the present case to obtain the requisite information regarding the
 13   conspiracy. The affidavit’s explanations of why other investigative techniques
 14   would not succeed in the case generally are also applicable to Defendant. See
 15   United States v. Baker, 589 F.2d 1008, 1013 (9th Cir. 1979). Although the affidavit
 16   does not specifically delineate how pen registers failed or will fail with respect to
 17   Defendant, it is not required to do so. See United States v. Rivera, 527 F.3d 891,
 18   902 (9th Cir. 2008) (“[L]aw enforcement officials need not exhaust every
 19   conceivable alternative before obtaining a wiretap.”); Baker, 589 F.2d at 1013.
 20   Furthermore, the Government is entitled to more leeway in its investigative methods
 21   when it pursues a conspiracy. See United States v. McGuire, 307 F.3d 1192, 1198
 22   (9th Cir. 2002). Therefore, the issuing court did not abuse its “considerable
 23   discretion” in concluding that the affidavit satisfied the necessity requirement as to
 24   target telephone 7. See id. at 1197. Accordingly, the Court DENIES Defendant’s
 25   renewed motion to suppress on the grounds of necessity.
 26   II.   Franks Hearing
 27         Defendant also renews his request for a Franks hearing. At oral argument,
 28   Defendant argued that the material omission was information regarding the lack of

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      contact between target telephone 7 and the other target telephones, as reflected by
  2   the pen register information. Defendant argues that had the affidavit contained this
  3   information, the affidavit would have failed to fulfill the requirements of probable
  4   cause and necessity.
  5         The Court previously rejected Defendant’s request for a Franks hearing
  6   because Defendant failed to make a substantial showing on both of the required
  7   elements: (1) that the nondisclosure of the alleged omissions was intentional or
  8   reckless; (2) and that the omissions were material. See Franks v. Delaware, 438
  9   U.S. 154, 155-56 (1978); United States v. Gonzalez, Inc., 412 F.3d 1102, 1111 (9th
 10   Cir. 2005). [Doc. No. 857.]
 11         Regarding the first element, Defendant in his renewed motion makes no
 12   argument, let alone a substantial showing, that supports a finding that the affiant
 13   intentionally or recklessly omitted facts. See United States v. Chavez-Miranda, 306
 14   F.3d 973, 979 (9th Cir. 2002) (“[B]are assertion[s] fall[] short of the preponderance
 15   of the evidence that Franks requires.”); United States v. Stanert, 762 F.2d 775, 781
 16   (9th Cir. 1985). For this reason alone, Defendant is not entitled to a Franks hearing.
 17   However, even assuming that Defendant can satisfy this prong, Defendant is unable
 18   to show materiality.
 19         As the Court found regarding Defendant’s previous motion, an affidavit
 20   containing the omissions would have still provided a basis for finding probable
 21   cause. Chavez-Miranda, 306 F.3d at 979. The issuing court could have found
 22   probable cause even with the additional information listed by Defendant. As
 23   detailed in the Court’s prior order, the Government provided detailed information
 24   regarding the Mexican Mafia’s “tax” payment system, and also gave information
 25   regarding Defendant’s telephone conversations with individuals at detention
 26   facilities which the Government believes were about payments to co-defendant Sara
 27   Quintana [12CR0236-TIII-722] and about narcotics sales within the detention
 28   facility [12CR0236-TIII-721]. The Government also stated that nine text messages

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      were exchanged between target telephone 7, which was used by Defendant, and
  2   target telephone 2, which was used by co-defendant Cynthia Varela, who, like
  3   Quintana, had been connected with facilitating “tax” payments to co-defendant
  4   Rudy Espudo. [12CR0236-TIII-700-01; 12CR0236-TIII-728.] The omissions
  5   listed by Defendant do not impact the aforementioned facts. Therefore, because the
  6   issuing court could have found probable cause even if these omissions were
  7   included in the affidavit, they are not material. See Chavez-Miranda, 306 F.3d at
  8   989 (“As the magistrate could have found probable cause even with mention of the
  9   [omitted fact] in the affidavit, its omission from the affidavit was not material.”).
 10         The omissions also do not impact a finding of necessity because they do not
 11   “undermine the government’s ability to prove the need for the . . . wiretap[s].”
 12   Gonzalez, 412 F.3d at 1102, 1111. Even if the omissions were included in the
 13   affidavit, the issuing judge could have concluded that ordinary investigative
 14   procedures failed or would have failed in the present case. As discussed above, the
 15   affidavit need not specifically delineate how pen registers failed or will fail with
 16   respect to Defendant. See Rivera, 527 F.2d at 902.
 17         Because Defendant showed neither that the affiant intentionally or recklessly
 18   omitted facts nor that the omissions were material, the Court DENIES Defendant’s
 19   request for a Franks hearing.
 20                                      CONCLUSION
 21         For the foregoing reasons, the Court DENIES Defendant Gutierrez’s motion
 22   to renew suppression for lack of necessity and request for a Franks hearing.
 23         IT IS SO ORDERED.
 24   DATED: May 2, 2013                       ______________________________
 25                                            IRMA E. GONZALEZ
                                               United States District Judge
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